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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                      )
In re                                 )                   Chapter 15
                                      )
                                    1
SPENCER CAPITAL HOLDINGS LTD.,        )                   Case No. 20-12287 (JLG)
                                      )
      Debtor in Foreign Proceeding.   )


                     MEMORANDUM OF LAW IN SUPPORT OF
            VERIFIED PETITION OF SPENCER CAPITAL HOLDINGS LTD.
           (IN PROVISIONAL LIQUIDATION) AND MOTION OF THE JOINT
      PROVISIONAL LIQUIDATORS FOR (A) RECOGNITION OF THE BERMUDA
    PROCEEDING AS A FOREIGN MAIN PROCEEDING OR, IN THE ALTERNATIVE,
    AS A FOREIGN NONMAIN PROCEEDING, AND (B) CERTAIN RELATED RELIEF




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                                                   John Johnston, in their capacity as the Joint
                                                   Provisional Liquidators and Proposed Foreign
                                                   Representatives

Dated: September 25, 2020




1
 SCHL (defined herein), a foreign Debtor, is a Bermuda limited company with a registered address in Bermuda of
Corner House, 20 Parliament Street, Hamilton, HM 12 Bermuda.


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       Rachelle Frisby and John Johnston of Deloitte Ltd. are the joint provisional liquidators

and authorized foreign representatives (“Petitioners” or “JPLs”) for Spencer Capital Holdings

Ltd. (“SCHL” or “Debtor”), in provisional liquidation currently pending before the Supreme

Court of Bermuda (the “Bermuda Court”), Civil Jurisdiction - Commercial Court, Companies

(Winding Up), 2019: No. 380 (the “Bermuda Proceeding”).

       On the date hereof (the “Petition Date”), the Petitioners commenced a Chapter 15 case

for the Debtor (the “Chapter 15 Case”) by filing a Form of Voluntary Petition for the Debtor

[ECF No. 1] under Chapter 15 of title 11 of the United States Code (the “Bankruptcy Code”) and

the Verified Petition of Spencer Capital Holdings Ltd. (in Provisional Liquidation) and Motion

of the Joint Provisional Liquidators for (A) Recognition of the Bermuda Proceedings as a

Foreign Main Proceeding or, in the Alternative, as a Foreign Nonmain Proceeding, and

(B) Certain Related Relief (the “Verified Petition”) [ECF No. 2] seeking (i) entry of an order,

substantially in the form attached to the Verified Petition as Exhibit A (the “Recognition

Order”) after notice and a hearing (the “Recognition Hearing”), (i) granting recognition of the

Bermuda Proceeding as a foreign main proceeding or, in the alternative, as a foreign nonmain

proceeding, and (ii) certain related relief. In support of the Verified Petition, the JPLs

respectfully submit this Memorandum of Law (this “Memorandum”).

       The Petitioners also respectfully refer this Court to the Declaration of Rachelle Frisby

Pursuant to 28 U.S.C. § 1746 and Statements and Lists Required by Bankruptcy Rule 1007(a)(4)

(the “Frisby Declaration”) [ECF No. 4], which contains facts relevant to this Memorandum and

is incorporated herein by reference.




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                                 PRELIMINARY STATEMENT

       The Petitioners are seeking entry of the Recognition Order granting the Debtor’s Verified

Petition, recognizing the Bermuda Proceeding as a foreign main proceeding or, in the alternative,

as a foreign nonmain proceeding. The Bermuda Proceeding and the recognition thereof in these

proceedings are critical components of the Debtor’s restructuring. Without the requested relief,

the restructuring sought in the Bermuda Proceeding would be undermined, which, in turn, would

cause irreparable harm to the Debtor and its creditors.

       On September 17, 2019, the Debtor filed a winding-up petition. By order dated

September 26, 2019 (the “Bermuda Order”), Petitioners were appointed as JPLs and duly

authorized foreign representatives of the Debtor.

       The Bermuda Order gives the JPLs the broad authority to undertake various actions with

respect to the Debtor, including the authority to:

                    a. Continue the business of the [Debtor] under the supervision of [the

       Bermuda Court] in so far as is necessary to preserve value of the [Debtor];

                  b. to take possession of the books, records, bank accounts and any other

      property or assets (of whatever nature) to which the [Debtor] is or appears to be entitled,

      and to take whatever steps necessary to effect such possession including, where necessary,

      court actions to obtain such property or assets to bring them under the control of the JPLs.

      For the avoidance of doubt, this includes the power for the JPLs to be able to see, review,

      secure, take possession of and copy any books and records (of whatever nature) relating to

      the [Debtor’s] management, accounts and audit located in the offices of the [Debtor’s]

      managers, principal representative and/ or auditors and accountants;




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                  c. to retain and employ barristers, attorneys or solicitors and/or such agents or

      professional persons as the JPLs deem fit (in Bermuda, the United States, and elsewhere as

      the JPLs deem appropriate) for the purpose of advising and assisting in the execution of

      [their] powers;

                  d. to maintain and operate the existing bank accounts of the [Debtor] and to

      open and operate new bank accounts in the name of the JPLs or the [Debtor] as may be

      necessary (whether within or outside Bermuda) and to pay monies into such accounts and

      authorize payment from such accounts;

                  e. to consider any legal or arbitration proceedings (including winding up

      proceedings) wherever situate in which the [Debtor] is a party including (without

      limitation) the proceedings pending in the United States District Court for the Southern

      District of New York captioned Cavello Bay Reinsurance Limited v. Kenneth Shubin Stein,

      Spencer Capital Limited (f/k/a Spencer Capital Holdings Ltd) and Spencer Capital

      Holdings Ltd., Case Number: 2018-cv-11362, and to give all instructions in connection

      therewith and take such action as may be thought necessary to continue to prosecute or

      defend such proceedings or to apply for a stay of such proceedings;

                  f. to consider and if thought advisable to commence such actions as may be

      necessary in Bermuda or elsewhere to protect, recover or obtain assets or money belonging

      to the [Debtor]; and

                  g. to rank and claim in the bankruptcy, liquidation, scheme of arrangement or

      insolvency of any person (including but not limited to any body corporate) indebted to the

      [Debtor] and to receive dividends, and to accede to trust deeds for the creditors of any such

      person.


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Bermuda Order, ¶¶ ¶¶ 3.1-3.3; 3.6; 3.11-3.13.

       The Bermuda Order also specifically authorizes the JPLs to seek the assistance of the

United States Bankruptcy Court under the provisions of Chapter 15. Bermuda Order ¶ 3.5.

       The JPLs have concluded that this Court’s recognition of the Bermuda Proceeding under

Chapter 15 of the Bankruptcy Code and the subsequent entry of an order of this Court giving

effect to the Bermuda Proceeding in the United States are necessary for the successful

restructuring of the Debtor. For the reasons set forth below, the JPLs respectfully request the

Court grant the relief sought in the Verified Petition and enter an order recognizing the Bermuda

Proceeding as a “foreign main proceeding” or, in the alternative, a “foreign nonmain

proceeding,” under section 1517 of the Bankruptcy Code.

       The Verified Petition satisfies all of the requirements set forth in sections 1515 and 1517

of the Bankruptcy Code, as applicable. Furthermore, the requested relief is necessary and

appropriate under Chapter 15 of the Bankruptcy Code. Finally, granting recognition of the

Bermuda Proceeding and giving effect in the United States to the Bermuda Proceeding, and

related relief, are consistent with the goals of international cooperation and comity inherent in

Chapter 15.

                                           ARGUMENT

I.     THE REQUIREMENTS FOR RECOGNITION OF THE BERMUDA
       PROCEEDING AS A FOREIGN MAIN PROCEEDING UNDER CHAPTER 15
       HAVE BEEN MET

       As a threshold matter, a foreign debtor seeking chapter 15 relief must satisfy the debtor

eligibility requirements set forth in section 109(a) of the Bankruptcy Code. See Drawbridge

Special Opportunities Fund LP v. Barnet (In re Barnet), 737 F.3d 238, 247-51 (2d Cir. 2013).

The Debtor satisfies the requirements of section 109(a) of the Bankruptcy Code.


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       The remaining requirements for recognition of a foreign proceeding under Chapter 15 are

set forth in section 1517(a) of the Bankruptcy Code. Subject to section 1506, a foreign

proceeding must be recognized if the following requirements are met:

                (1)      such foreign proceeding for which recognition is sought is a
                         foreign main proceeding or foreign nonmain proceeding within the
                         meaning of section 1502;

                (2)      the foreign representative applying for recognition is a person or
                         body; and

                (3)      the petition meets the requirements of section 1515.

11 U.S.C. § 1517(a); see also In re Millard, 501 B.R. 644, 651 (Bankr. S.D.N.Y. 2013)

(section 1517 provides a “statutory mandate that recognition be granted upon compliance with

the requirements of section 1517(a)(1), (2) and (3)”) (citing Lavie v. Ran (In re Ran), 607 F.3d

1017, 1021 (5th Cir. 2010)); In re ABC Learning Centres Ltd., 728 F.3d 301, 306 (3d Cir.

2013) cert. denied, 134 S. Ct. 1283 (2014) (recognition mandatory when an insolvency

proceeding meets the section 1517 criteria).

       The Debtor is eligible for Chapter 15 relief because it has property located in the United

States. Moreover, the Verified Petition and the Bermuda Proceeding satisfy each of the

foregoing requirements for recognition.

       A. The Debtor Satisfies Section 109(a)

       Pursuant to section 109(a) of the Bankruptcy Code, “only a person that resides or has a

domicile, a place of business, or property in the United States, or a municipality, may be a

debtor” under the Bankruptcy Code. 11 U.S.C. § 109(a). The question that most often arises in

interpreting section 109(a) is what constitutes “property in the United States,” particularly

because section 109(a) does not address how much property must be present or when or how

long property must have a situs in the United States.

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       Numerous courts have indicated that the “property” requirement is easily satisfied. See In

re Octaviar Admin. Pty. Ltd., 511 B.R. 361, 369-74 (Bankr. S.D.N.Y. 2014) (finding that foreign

debtor satisfied section 109(a) based on claims the foreign debtor had under U.S. law against

U.S. defendants and retainer that foreign representative deposited in client trust account to secure

representation by U.S. law firm); In re Suntech Power Holdings Co., 520 B.R. 399, 412-13

(Bankr. S.D.N.Y. 2014) (establishment of a bank account in New York prior to commencement

of the Chapter 15 proceeding was sufficient to satisfy section 109(a)); In re Paper I Partners,

L.P., 283 B.R. 661, 674 (Bankr. S.D.N.Y. 2002) (finding that debtors’ maintenance of original

business documents in the United States constituted “property in the United States” under

section 109). In fact, this Court held that even New York choice of law and forum selection

clauses in a debtor’s indenture constitute sufficient property to satisfy section 109(a). See In re

Berau Capital Resources Pte Ltd., 540 B.R. 80, 83 (Bankr. S.D.N.Y. 2015) (“The Court

concludes that the presence of the New York choice of law and forum selection clauses in the

Berau indenture satisfies the section 109(a) ‘property in the United States’ eligibility

requirement.”).

       Furthermore, this Court has previously found that actively taking steps to meet the

property requirement of section 109(a) is not improper conduct and does not constitute bad faith.

In Suntech, the debtor had no property or business in the United States at the time its joint

provisional liquidators agreed to file a Chapter 15 case there. The joint provisional liquidators

subsequently established a bank account in New York, transferred $500,000 into that account

and filed the Chapter 15 case the next day. This Court found that these actions were proper,

stating: “Interpreting the Bankruptcy Code to prevent an ineligible foreign debtor from

establishing eligibility to support needed Chapter 15 relief [would] contravene the purposes of


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the statute to provide legal certainty, maximize value, protect creditors and other parties in

interests [sic] and rescue financially troubled businesses.” In re Suntech, 520 B.R. at 413.

       The Debtor lacks a United States domicile or place of business. However, the JPLs

clearly meet the burden of proving the Debtor has property in the United States and, more

specifically, in New York. The Debtor has bank accounts in the United States in at least three

separate financial institutions, Merrill Lynch, TD Bank, N.A. and Wells Fargo & Company.

Thus, the JPLs should not be precluded from commencing and prosecuting Debtor’s Chapter 15

Case on the basis of section 109.

       B. The Verified Petition Meets the Requirements of Section 1515

       The Chapter 15 Case was duly and properly commenced in accordance with

sections 1504, 1509 and 1515 of the Bankruptcy Code. The JPLs filed the Verified Petition for

recognition of foreign proceedings pursuant to section 1515(a), which was accompanied by all

documents and information required by sections 1515(b) and (c) and the relevant Bankruptcy

Rules, including (a) a certified copy of the Bermuda Order with respect to the Debtor; (b) a

statement identifying all foreign proceedings known to the JPLs with respect to the Debtor;

(c) corporate ownership statements containing the information described in Bankruptcy Rule

1007(a)(4); and (d) a list containing (i) the names and addresses of all persons or bodies

authorized to administer foreign proceedings of the Debtor, (ii) all parties to litigation pending in

the United States to which the Debtor is a party at the time of the filing of the petition, and

(iii) all entities against whom provisional relief is being sought under section 1519 of the

Bankruptcy Code. The JPLs respectfully submit that they have satisfied the clear and objective

standards for compliance with section 1515 of the Bankruptcy Code.




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        C. Each of the JPLs Qualifies as a “Foreign Representative”

        A Chapter 15 case is commenced by the filing of a petition for recognition (and related

documents) by the “foreign representative.” See 11 U.S.C. 1504, 1509(a), 1515(a). A

bankruptcy court may presume that the person petitioning for Chapter 15 recognition is a foreign

representative if the decision or certificate from the foreign court so indicates. 11 U.S.C.

§ 1516(a). The Bankruptcy Code defines “foreign representative” as “a person or body,

including a person or body appointed on an interim basis, authorized in a foreign proceeding to

administer the reorganization or the liquidation of the debtor’s assets or affairs or to act as a

representative of such foreign proceeding.” 11 U.S.C. § 101(24).

        The Bermuda Order expressly appoints the JPLs “to seek the assistance [of] the United

States Bankruptcy Court under the provisions of the US Bankruptcy Code, Chapter 15.”

Bermuda Order ¶ 3.5; see also Frisby Declaration ¶ 7.

        In light of the statutory presumption, the Bankruptcy Code’s definition of “foreign

representative” and the express provisions of the Bermuda Order, the JPLs are each proper

“foreign representatives” of the Debtor within the meaning of section 101(24) of the Bankruptcy

Code.

        D. The Bermuda Proceeding Is A “Foreign Proceeding”

        The Bermuda Proceeding is a “foreign proceeding” as required for recognition under

section 1517(a) of the Bankruptcy Code. See 11 U.S.C. 1517(a)(1). The Bankruptcy Code

defines a “foreign proceeding” as

                a collective judicial or administrative proceeding in a foreign
                country, including an interim proceeding, under a law relating to
                insolvency or adjustment of debt in which proceeding the assets
                and affairs of the debtor are subject to control or supervision by a
                foreign court, for the purpose of reorganization or liquidation.

11 U.S.C. § 101(23).
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       As set forth in further detail in the Frisby Declaration, the Bermuda Proceeding is a

“collective judicial proceeding” commenced under Bermuda Companies Act 1981, and is a “law

relating to insolvency or adjustment of debt.” See Frisby Declaration ¶¶ 16-21.

       The conclusion that the Bermuda Proceeding is a foreign proceeding within the meaning

of section 101(23) is further supported by precedent. On multiple occasions, this Court and

others have previously held that insolvency proceedings (including provisional liquidations)

qualify as foreign proceedings under Chapter 15 of the Bankruptcy Code. See, e.g., In re

Suntech Power Holdings Co., 520 B.R. 399 (Bankr. S.D.N.Y. 2014) (provisional liquidation); In

re Platinum Partners Value Arbitrage Fund et al., No. 16-12925 (SCC) [ECF No. 27] (Bankr.

S.D.N.Y. Nov. 23, 2016) (official liquidation); In re Ardent Harmony Fund, Inc., No. 16-12282

(MG) [ECF No. 17] (Bankr. S.D.N.Y. Sept. 1, 2016) (official liquidation); In re Caledonian

Bank Ltd., No. 15-10324 (MG) [ECF No. 39] (Bankr. S.D.N.Y. Mar. 17, 2015) (official

liquidation).

       E. The Bermuda Proceeding Is A “Foreign Main Proceeding”

       The Bermuda Proceeding is a “foreign main proceeding” within the meaning of

section 1502(4) of the Bankruptcy Code because the Debtor’s center of main interests (“COMI”)

is Bermuda.

       The Bankruptcy Code defines a “foreign main proceeding” as “a foreign proceeding

pending in the country where the debtor has the center of its main interests.” See 11 U.S.C.

§ 1502(4). A foreign proceeding “shall be recognized” as a foreign main proceeding if it is

pending where the debtor has its COMI. See 11 U.S.C. § 1517(b)(1). The Bankruptcy Code

does not define “center of main interests,” but, pursuant to section 1516(c) of the Bankruptcy

Code, it is presumed that a debtor’s COMI is the location of its registered office “absent


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evidence to the contrary.” See 11 U.S.C. § 1516(c); see also In re Millennium Glob. Emerging

Credit Master Fund Ltd., 458 B.R. 63, 76 (Bankr. S.D.N.Y. 2011) aff’d, 474 B.R. 88 (S.D.N.Y.

2012) (finding in the context of section 1516 that “[t]he party seeking to rebut a statutory

presumption must present enough evidence to withstand a motion for summary judgment”); In re

ABC Learning Centres Ltd., 445 B.R. 318, 333 (Bankr. D. Del. 2010) aff’d, 728 F.3d 301 (3d

Cir. 2013) (holding that debtor’s registered jurisdiction was its COMI where debtor established

the section 1516 presumption no objection was raised or evidence presented rebutting the

section 1516 presumption). However, the legislative history indicates that this presumption was

“designed to make recognition as simple and expedient as possible” in cases where COMI is not

controversial. H. Rep. No. 109-31, Pt. 1, 109th Cong., 1st Sess. 112-13 (2005). Accordingly,

“[t]his presumption is not a preferred alternative where there is a separation between a

corporation’s jurisdiction of incorporation and its real seat.” In re Bear Stearns High-Grade

Structured Credit Strategies Master Fund, Ltd., 374 B.R. 122, 128 (Bankr. S.D.N.Y. 2007)

(emphasis in original).

       Courts have identified several additional factors which may be considered in a COMI

analysis, including:

                the location of the debtor’s headquarters; the location of those who
                actually manage the debtor (which, conceivably could be the
                headquarters of a holding company); the location of the debtor’s
                primary assets; the location of the majority of the debtor’s creditors
                or of a majority of the creditors who would be affected by the case;
                and/or the jurisdiction whose law would apply to most disputes.

In re SPhinX, Ltd., 351 B.R. 103, 117 (Bankr. S.D.N.Y. 2006); In re Bear Stearns, 374 B.R. at

128. While each of these factors may serve as a “helpful guide” in determining a debtor’s

COMI, these factors are not exclusive, and none of the factors are required nor dispositive. See

Morning Mist Holdings Ltd. v. Krys (In re Fairfield Sentry Ltd.), 714 F.3d 127, 137-38 (2d Cir.

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2013) (explaining that “consideration of these specific factors is neither required nor dispositive”

and warning against mechanical application).

        Moreover, the Second Circuit and other courts often examine whether a Chapter 15

debtor’s COMI would have been ascertainable to interested third parties, finding “the relevant

principle is that the COMI lies where the debtor conducts its regular business, so that the place is

ascertainable by third parties . . . . Among other factors that may be considered are the location

of headquarters, decision-makers, assets, creditors, and the law applicable to most disputes.” In

re Fairfield Sentry, 714 F.3d at 130. As the Second Circuit explained, by examining factors “in

the public domain,” courts are readily able to determine whether a debtor’s COMI is in fact

“regular and ascertainable and not easily subject to tactical removal.” Id. at 136-37. See also In

re British Am. Ins. Co., 425 B.R. 884, 912 (Bankr. S.D. Fla. 2010) (“The location of a debtor’s

COMI should be readily ascertainable by third parties.”); In re Betcorp Ltd., 400 B.R. 266, 289

(Bankr. D. Nev. 2009) (looking to ascertainability of COMI by creditors).

        In assessing these factors, a Chapter 15 debtor’s COMI is determined as of the filing date

of the Chapter 15 petition, without regard to the debtor’s historic operational activity. See In re

Fairfield Sentry, 714 F.3d at 137 (“[A] debtor’s COMI should be determined based on its

activities at or around the time the Chapter 15 petition is filed, as the statutory text suggests.”).

        The JPLs submit that, as of the Petition Date, the Debtor’s “center of main interests”

within the meaning of Chapter 15 of the Bankruptcy Code is in Bermuda and that COMI was not

manipulated prior to the filing in bad faith. As previously noted, Debtor is a Bermuda limited

company and maintains its head office in Bermuda at the following address: Corner House, 20

Parliament Street, Hamilton, HM 12 Bermuda. Furthermore, Debtor’s administrative service

functions are performed in Bermuda.


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       F. In the Alternative, the Bermuda Proceeding Is a “Foreign Nonmain Proceeding”
          Because the Debtor Has Establishments There

       Should the Court for some reason conclude that the Bermuda Proceeding should not be

recognized as a foreign main proceeding, the JPLs submit that, in the alternative, the Bermuda

Proceeding should be recognized as a foreign nonmain proceeding under sections 1516(b)(2) and

1502(5) of the Bankruptcy Code.

       A foreign nonmain proceeding is defined as a “foreign proceeding, other than a foreign

main proceeding, pending in a country where the debtor has an establishment.” 11 U.S.C.

§ 1502(5). An “establishment” is “any place of operations where the debtor carries out a

nontransitory economic activity.” 11 U.S.C. § 1502(2). The Bankruptcy Code does not define

“nontransitory economic activity,” but courts have interpreted the terms “operations” and

“economic activity” as used in section 1502(2) to require a “showing of a local effect on the

marketplace, more than mere incorporation and record-keeping and more than just the

maintenance of property.” In re Creative Fin. Ltd., 543 B.R. 498, 521 (Bankr. S.D.N.Y. 2016).

Moreover, the “establishment” requirement may be satisfied by the local conduct of business.

See id. at 520 (“‘Establishment’ has been described as a ‘local place of business.’”); In re

Fairfield Sentry Ltd., No. 10 Civ. 7311, 2011 WL 4357421, at *10 n.8 (S.D.N.Y. Sept. 16, 2011)

(“This Court agrees with the Bankruptcy Court that if main recognition were not granted, non-

main recognition of Sentry’s BVI Proceeding would be appropriate because Sentry has an

establishment in the BVI for the conduct of nontransitory economic activity, i.e. a local place of

business.”).

       Even if the Court declines to find that Bermuda is the center of the Debtor’s main

interests, it would be hard pressed to deny that the Debtor has an establishment there. As

described above, Bermuda is where the Debtor conducts its principal business operations.

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       Given the considerable business activities conducted by the Debtor in Bermuda, the JPLs

submit that the Bermuda Proceeding is pending where the Debtor has an “establishment,” and,

therefore, that the Bermuda Proceeding constitutes a “foreign nonmain proceeding” within the

meaning of section 1502 of the Bankruptcy Code.

       G. Recognition of the Bermuda Proceeding Would Not Be Manifestly Contrary to
          United States Policy

       Recognition of a foreign proceeding is “subject to section 1506,” which provides that a

bankruptcy court may decline to grant relief requested if the action would be “manifestly

contrary to the public policy of the United States.” 11 U.S.C. §§ 1506, 1517(a). Courts have

construed this public policy exception narrowly. See Armada (Singapore) Pte Ltd. v. Shah (In re

Ashapura Minechem Ltd.), 480 B.R. 129, 139 (S.D.N.Y. 2012) (stating that courts have

“uniformly” read the public policy exception “narrowly and applied it sparingly”).

       Granting recognition of the Bermuda Proceeding would advance the public policy

objectives of sections 1501(a) and 1508 of the Bankruptcy Code, among others, thereby making

the public policy exception under section 1506 wholly inapplicable. Specifically, granting

recognition of the Bermuda Proceeding would promote the fair and efficient administration of

cross-border insolvency proceedings designed to protect the interests of all creditors and other

interested parties, while at the same time preventing creditors from commencing or continuing

litigation in the United States that could potentially disadvantage the overwhelming majority of

creditors. Granting recognition to the Bermuda Proceeding as a foreign proceeding is critical to

furthering the objectives of Chapter 15, promoting greater cooperation between the United States

and Bermuda Courts, and accomplishing the Debtor’s restructuring through the Bermuda

Proceeding. Moreover, recognition of the Bermuda Proceeding as a foreign proceeding under

Chapter 15 would further protect the interests of creditors in the Bermuda Proceeding because,

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absent recognition, the uniform and orderly administration of the Debtor’s’ assets would be

jeopardized.

II.     THE COURT SHOULD GRANT THE JPLS’ AUTHORITY TO DISBURSE THE
        FUNDS HELD BY MERRILL LYNCH, TD BANK, N.A. AND WELLS FARGO &
        COMPANY.

        Pursuant to 11 U.S.C. § 1521(a)(5) upon recognition, at the request of the foreign

representative, the court may grant appropriate relief to protect the assets of the debtor or interest

of the creditors, including “entrusting the administration or realization of all or part of the

debtor’s assets within the territorial jurisdiction of the United states to the foreign representative

or another person, including an examiner, authorized by the court.” Further, section 1521(b)

provides for the disbursement of such funds that are turned over, “provided that the court is

satisfied that the interests of creditors in the United States are sufficiently protected.”

        In In re Bear Stearns High-Grade Structured Credit Strategies Master Fund, Ltd., 389

B.R. 325, 333 (S.D.N.Y. 2008) the court found that “relief [under § 1521] is largely discretionary

and turns on subjective factors that embody principles of comity.” Further, “[o]nce a case is

recognized as a foreign main proceeding, chapter 15 specifically contemplates that the court will

exercise its discretion consistent with principles of comity.” In re Atlas Shipping A/S, 404 B.R.

726, 738 (Bankr. S.D.N.Y. 2009). “There is a logical reason for this [exercise of discretion].

Deference to foreign insolvency proceedings will often facilitate the distribution of the debtor’s

assets in an equitable, orderly, efficient, and systematic manner, rather than in a haphazard,

erratic, or piecemeal fashion.” Id. at 738 (Internal quotations and citations omitted). The court

has denied the turnover of assets where liens or judgments have already attached to the assets

sought. See In re Int'l Banking Corp. B.S.C., 439 B.R. 614 (Bankr. S.D.N.Y. 2010).




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       In addition to the discretionary power of the Court to allow for disbursement, the Court

has the ability to subject such requested relief to “conditions it considers appropriate.” See 11

U.S.C. §1522(a). The Court also maintains the power to modify or terminate the relief granted

on its own motion or on the motion of any affected party. See 11 U.S.C. §1522(c).

       Pursuant to their powers in the Bermuda Proceeding, the JPLs have already gained

control of funds held by the Debtor in the following financial institutions: Merrill Lynch

(“Merrill”), TD Bank, N.A. (“TD Bank”) and Wells Fargo & Company (“Wells Fargo”). For the

sake of clarity, the JPLs are simply seeking this Court’s authority to disburse said funds as

provided in the Bermuda Proceeding.

       As the Court should exercise its discretion while maintaining the principles of comity, it

follows that the appointment of the JPLs should be uninterrupted and the JPLs must be granted

the authority to oversee all of the assets of the Debtor, including those assets located in the

United States. See Atlas Shipping at 738. For the same reasons delineated in the Atlas Shipping

case, the JPLs should be granted the authority to disburse the funds held in the Debtor’s name at

Merrill, TD Bank and Wells Fargo pursuant to Bankruptcy Code section 1521(b) to ensure an

equitable, orderly, efficient, and systematic distribution of the Debtor’s assets. Unlike the matter

before the court in International Banking, upon the JPLs’ review of Debtor’s books and records,

there are no liens or judgments attached to the funds held by Merrill, TD Bank or Wells Fargo.

Based on the foregoing, the Court should allow for disbursement of the funds in accordance with

the Bermuda Proceeding.




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                                          CONCLUSION

       For the foregoing reasons, the Petitioners respectfully request that this Court enter an

order substantially in the form attached to the Verified Petition as Exhibit A, granting the relief

requested therein and such other and further relief as may be just and proper.

Dated: September 25, 2020
       New York, New York

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